

People v Yanga (2023 NY Slip Op 00602)





People v Yanga


2023 NY Slip Op 00602


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, BANNISTER, MONTOUR, AND OGDEN, JJ.


1019 KA 21-00734

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vTOMBE YANGA, DEFENDANT-APPELLANT. (APPEAL NO. 4.) 






CHARLES J. GREENBERG, AMHERST, FOR DEFENDANT-APPELLANT.
JOHN J. FLYNN, DISTRICT ATTORNEY, BUFFALO (MINDY F. VANLEUVAN OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Paul Wojtaszek, J.), rendered April 13, 2021. The judgment convicted defendant upon a plea of guilty of criminal possession of stolen property in the fourth degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Yanga ([appeal No. 1] — AD3d — [Feb. 3, 2023] [4th Dept 2023]).
Entered: February 3, 2023
Ann Dillon Flynn
Clerk of the Court








